          Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 1 of 22




            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

    IN RE MOHAWK INDUSTRIES,                    *              LEAD CASE NO.:
    INC.                                        *              4:20-CV-00110-ELR
                                                *
    DERIVATIVE LITIGATION                       *              (Derivative Action)
                                                *
                                                *
    This Document Relates To:                   *
                                                *
    4:20-CV-00185-ELR                           *
                                                *
                                           _________

                                           ORDER
                                           _________

         Presently before the Court is Proposed Intervenors Teamsters Local 456

Pension Fund, Teamsters Local 456 Annuity Fund, and Central Laborers Pension

Fund’s “Motion[s] to Intervene for Limited Purposes.” [Docs. 34, 49].1 By their

instant motion, Proposed Intervenors (1) seek to intervene in this action; (2) move

for a stay of proceedings until they complete their books and records investigations

1
  For clarity, the Court notes that Proposed Intervenors filed identical motions to intervene for
limited purposes in both the Palmer derivative action (Civil Action No. 4:20-CV-00110) and
Tharayil derivative action (Civil Action No. 4:20-CV-00185) before those actions were
consolidated into the instant Consolidated Derivative Action (which bears the same case number
as the Palmer derivative action, the earlier-filed case). [See Docs. 34, 49]. Plaintiffs Palmer and
Tharayil (who are represented by the same counsel) submitted identical response briefs to the
motions to intervene. [See Docs. 42, 51]. Subsequently, Proposed Intervenors filed the same reply
brief in both actions. [See Docs. 46, 52]. Therefore, to obviate the need for citations to both sets
of identical briefs, the Court cites to the Parties’ briefs as filed in the Palmer derivative action
throughout this order. [Docs. 34, 42, 46]. However, the rulings contained herein are intended to
resolve both of Proposed Intervenors’ “Motion[s] to Intervene for Limited Purposes,” as noted in
the conclusion of this order. [Docs. 34, 49].
          Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 2 of 22




pursuant to 8 Del. C. § 220 (“Section 220 investigation” or “books and records

investigation”) concerning Mohawk Industries, Inc. (“Mohawk” or “the Company”),

the corporation at the center of this litigation; (3) oppose the consolidation of Civil

Action No. 4:20-CV-00185 (the “Tharayil derivative action”) with this case (the

“Palmer derivative action”); and (4) oppose the appointment of Johnson Fistel, LLP

and Brager Eagel & Squire, P.C. as lead counsel. [See id. at 2]. For the reasons set

forth below, the Court grants in part and denies as moot in part Proposed Intervenors’

motion.

I.     Background

       As Proposed Intervenors set forth in their motion, Mohawk is a global

manufacturer of flooring products. [See Doc. 34-1 at 4]. Proposed Intervenors

frame the alleged underlying facts of this case as follows.2 No later than April 2017,

Mohawk (a Delaware corporation) allegedly sought to begin production of a new

flooring product known as Luxury Vinyl Tile (or “LVT”), which was gaining

popularity in the marketplace because “LVT wears better than wood, stone, or

ceramic tile and is easier and cheaper to install.” [See id.] To that end, Mohawk

purportedly opened a new LVT plant in Georgia and acquired an international




2
 In their motion, Proposed Intervenors proffer that their facts “were taken from the Consolidated
Class Action Complaint for Violations of the Federal Securities Laws [Dkt. 37] in Public
Employees’ Retirement System of Mississippi v. Mohawk Industries, Inc., Civ. A. No. 4:20-cv-
0005-ELR (N.D. Ga. June 29, 2020).” [See Doc. 34-1 at 4 n.4].

                                               2
        Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 3 of 22




company that manufactures LVT. [See id.] Despite these endeavors, Mohawk

supposedly began having financial difficulties. [See id.]

      A.     Mohawk’s Purported Schemes

      According to Proposed Intervenors, certain directors and executives of

Mohawk attempted to conceal the Company’s financial difficulties in various ways.

[See id. at 5–9]. One such way was the alleged “Saturday Scheme,” whereby

Mohawk instructed its distribution center employees to “load their trucks with all

items ordered by any customer at any time” on the last Saturday of each financial

quarter, “even though the agreed-upon delivery dates were in future quarters.” [See

id. at 5]. After the employees loaded the trucks with the future delivery orders,

Mohawk would purportedly “auto-generate invoices for the customers’ accounts and

recognize a ‘sale’ in the current quarter, despite the products not having been

delivered.” [See id.] Thus, the Saturday Scheme allegedly allowed Mohawk to

improperly record the orders sitting in its distribution center trucks as money

“earned” toward its quarterly revenue targets (and other financial metrics). [See id.]

      Mohawk’s leadership also supposedly attempted to conceal the Company’s

financial difficulties by overproducing LVT and other flooring products. [See id. at

6]. Specifically, Proposed Intervenors claim that Mohawk’s former president, Brian

Carson, ordered the Company to produce “enormous quantities” of LVT at its

domestic manufacturing centers, despite the fact that much of the LVT being made


                                          3
         Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 4 of 22




was “unsalable” and “scrap.” [See id.] Even though this damaged LVT would never

reach customers, Carson allegedly caused Mohawk to record the defective product

as “inventory” so as to inflate Mohawk’s “margins and net income” and “to hide

from investors the rampant quality-control problems plaguing the Company’s

attempts to compete in the burgeoning LVT market.” [See id.] Further, Proposed

Intervenors contend Carson caused Mohawk to drastically overproduce several other

products, which “spread[] the Company’s fixed manufacturing costs across more

products” and thereby “artificially reduce[d] the Company’s cost of sales, which in

turn inflated the Company’s margins.”3 [See id. at 5–6].

       Consequently, at some point during 2018, Mohawk’s chief executive officer

and chairman of the board, Jeffrey Lorberbaum, purportedly conducted an internal

investigation that involved “everyone on Mohawk’s Executive Leadership Team.”

[See id. at 7]. As a supposed result of the investigation, Lorberbaum terminated

Carson for “cooking the books[.]” [See id.] However, Lorberbaum allegedly

“continued to keep the specifics of Carson’s schemes hidden from investors” and

released a press statement that Carson had merely “resigned.” [See id.] Proposed


3
  As Plaintiff Palmer alleged in his Complaint, this overproduction was supposedly part of a
“channel stuffing scheme.” See Compl. ¶ 8 [Doc. 1]. Plaintiff Palmer contends: “Channel stuffing
is a business practice in which a company, or a sales force within a company, inflates its sales
figures by forcing more products through a distribution channel than the channel is capable of
selling.” See id. Thus, according to Plaintiff Palmer, certain directors and executives of Mohawk
“caused Mohawk to induce their distributors to take on surpluses of [products] that were vastly
greater than demand, in an effort to make Mohawk’s sales growth and financial performance
appear far better than they were.” See id.

                                               4
       Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 5 of 22




Intervenors maintain that Carson, as part of his termination, was given an award

(hereinafter, the “Carson Award”) of a $1 million “all-cash payment” by Mohawk,

in addition to vested stock benefits to “ensure [his] silence” and cooperation as a

witness in any forthcoming litigation.       [See id. at 7–8].   Further, Proposed

Intervenors allege that during this same timeframe, all of Mohawk’s “top executives

received (but did not earn) huge compensation awards for supposedly hitting

‘performance-based’ compensation metrics [(‘Performance-Based Executive

Compensation’)], which have not been clawed back [], even though the Company

and the senior executives themselves knew that such metrics were only achieved

through fraudulent schemes, including the Saturday Scheme.” [See id. at 8].

      Subsequently, despite having terminated Carson in 2018, Lorberbaum

purportedly allowed the Saturday Scheme, the issues with production and inventory,

and the fraudulent financial reporting practices “to continue unabated into 2020[.]”

[See id.] Additionally, Proposed Intervenors claim that Mohawk executives “made

numerous materially false and/or misleading statements or omissions” to the

Company’s stockholders over the course of several years “to misrepresent and

conceal the truth” regarding the Company’s financial situation. [See id. at 8–9].

      B.    Stockholder Litigation and Investigations

      As a result of these alleged actions, on January 3, 2020, the Public Employees’

Retirement System of Mississippi filed a class action suit on behalf of its members


                                         5
       Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 6 of 22




against Mohawk and certain Mohawk directors/executives (the “Related Securities

Class Action”). See Civil Action No. 4:20-CV-00005 [Doc. 1]. In the Related

Securities Class Action, Public Employees’ Retirement System of Mississippi

claims it was damaged by purchasing Mohawk stock at an artificially inflated price

due to misleading representations by Mohawk and its directors/executives. [See

generally id.] Further compounding Mohawk’s exposure to potential liability, on

July 13, 2020, Mohawk “announced that it received subpoenas issued by the U.S.

Attorney’s Office for the Northern District of Georgia and the SEC on June 25, 2020

based on topics similar to those raised by” the complaint in the Related Securities

Class Action. [See Doc. 34-1 at 9–10].

      Importantly, after the Related Securities Class Action was filed, two (2)

individual stockholders of Mohawk filed derivative actions on behalf of the

Company during 2020. [Id.] Specifically, Plaintiff Tom Palmer filed a Complaint

on May 18, 2020, asserting claims on behalf of Mohawk for breach of fiduciary duty

against certain directors/executives of Mohawk in connection to the “channel

stuffing scheme” and related misstatements. See Compl. On August 6, 2020,

Plaintiff Joe Tharayil initiated a second derivative action on behalf of Mohawk,

bringing similar claims for breach of fiduciary duty and breach of duty of loyalty

against certain Mohawk directors/executives stemming from (among other things)

the purported “channel stuffing scheme,” related misstatements, and for allegedly


                                         6
         Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 7 of 22




causing Mohawk to repurchase more than $443 million worth of its own shares at

artificially inflated prices.        See Civil Action No. 4:20-CV-00185 [Doc. 1]

(hereinafter, the “Tharayil Complaint”).             Additionally, the Tharayil Complaint

asserts claims for unjust enrichment and waste of corporate assets (for repurchasing

Mohawk shares at artificially inflated prices, paying the Carson Award, and other

awards and benefits paid to directors). See id.

       C.      Section 220 Books and Records Investigation

       However, according to Proposed Intervenors, both Mr. Palmer and Mr.

Tharayil (together, “Plaintiffs”) failed to avail “themselves of the ‘tools at hand’

authorized under Delaware law”—specifically, a Section 220 books and records

investigations as authorized by 8 Del. C. § 220—to obtain important information

prior to filing their derivative actions. [See Doc. 34-1 at 2]. Proposed Intervenors

contend Plaintiffs should have conducted a Section 220 investigation before

initiating suit on behalf of the Company to “bolster any argument that pre-suit

demand would have been futile, and thus excused as a matter of law.”4 [See id.] As

Proposed Intervenors acknowledge, conducting a Section 220 investigation is not


4
  “Demand futility” is a term used to explain the excusal of the “demand requirement” contained
in the heightened pleading standards for shareholder derivative actions as set forth in Federal Rule
of Civil Procedure 23.1(b) and Delaware Chancery Court Rule 23.1(a). Pursuant to Delaware law,
the demand requirement may be excused where it would be “futile” because “the directors are
deemed incapable of making an impartial decision regarding the pursuit of the litigation.” See
Wood v. Baum, 953 A.2d 136, 140 (Del. 2008). If a derivative plaintiff fails to meet the demand
pleading requirement and also fails to show that such a demand would have been futile, his
complaint may be subject to dismissal. See id.

                                                 7
        Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 8 of 22




legally required to prove demand futility in a derivative shareholder action, although

it is a statutory right conveyed to stockholders pursuant to Delaware law to obtain a

Delaware corporation’s internal records. [See id. at 2, 10–13] (citing 8 Del. C.

§ 220). Yet, Plaintiffs allege that a pre-suit demand on Mohawk’s board of directors

would have been futile, as Plaintiffs believe is clear from their review and analysis

of various publicly available information (including SEC filings made by Mohawk,

the pleadings of the Related Securities Class Action, press releases, news reports,

analyst and industry reports, and investor conference call transcripts). See Compl.

at 2, ¶ 73; see also Tharayil Compl. at 2, ¶ 192.

      Proposed Intervenors disagree and contend that Plaintiffs’ failure to undertake

a Section 220 investigation rendered Plaintiffs’ “pre-suit investigations . . . deficient”

and places their claims on behalf of Mohawk at unnecessary hazard of dismissal,

which “risks prejudice to the Company and other Mohawk stockholders.” [See id. at

2]. Indeed, as Mohawk stockholders themselves, Proposed Intervenors initiated

their own Section 220 investigations of Mohawk’s books and records on July 31,

2020, and August 6, 2020. [See id. at 12]; [see also Docs. 34-2, 34-3] (copies of

Section 220 demand letters). In particular, Proposed Intervenors requested several

categories of documents related to (among other things) “the Saturday Scheme, the

Carson Award, the Performance-Based Executive Compensation, Carson’s

‘resignation,’ and the inventory issues discussed above.” [See Doc. 34-1 at 13].


                                            8
        Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 9 of 22




       Subsequently, Proposed Intervenors filed their instant motion to intervene on

September 4, 2020. [Doc. 34]. Shortly thereafter, by an Order dated October 21,

2020, the Court consolidated Palmer and Tharayil derivative actions into this single

Consolidated Derivative Action and appointed Lead Counsel for Plaintiffs.5

[Doc. 47]. By the same Order, the Court ruled that this Consolidated Derivative

Action would remain stayed pursuant to the same terms “set forth in Judge Cohen’s

order in Palmer v. Lorberbaum, et al., No. 4:20-CV-00110 entered on July 20, 2020.

[See Doc. 28].” [Doc. 47 ¶ 11].

       With this factual and procedural background in mind, the Court now proceeds

to Proposed Intervenors’ instant motion. Before assessing the merits of the Parties’

arguments, the Court sets forth the relevant legal standard.

II.    Legal Standard

       Proposed Intervenors assert that they are entitled to intervention as a matter

of right pursuant to Rule 24(a)(2) of the Federal Rules of Civil Procedure or, in the

alternative, permissive intervention pursuant to Rule 24(b)(1). Rule 24(a) provides

for intervention as a matter of right as follows:

       On timely motion, the court must permit anyone to intervene who: (1)
       is given an unconditional right to intervene by a federal statute; or (2)
5
 The October 21, 2020 Order provides: “[t]he cases Tharayil v. Lorberbaum, et al., No. 4:20-CV-
00185-ELR and Palmer v. Lorberbaum, et al., No. 4:20-CV-00110-ELR (the ‘Related Derivative
Actions’) are hereby deemed related and consolidated for all purposes, including pre-trial
proceedings and trial, into one consolidated action (the ‘Consolidated Derivative Action’).”
[Doc. 47 ¶ 1]. By the same Order, the Court appointed Johnson Fistel, LLP and Brager Eagel &
Squire, P.C. as lead counsel for Plaintiffs in the Consolidated Derivative Action. [Id. ¶ 4].

                                              9
        Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 10 of 22




       claims an interest relating to the property or transaction that is the
       subject of the action, and is so situated that disposing of the action may
       as a practical matter impair or impede the movant’s ability to protect its
       interest, unless existing parties adequately represent that interest.

See FED. R. CIV. P. 24(a).          Alternatively, Rule 24(b) provides for permissive

intervention under the following circumstances:

       On timely motion, the court may permit anyone to intervene who: (A)
       is given a conditional right to intervene by a federal statute; or (B) has
       a claim or defense that shares with the main action a common question
       of law or fact.

See FED. R. CIV. P. 24(b)(1).

       Further, a “court has broad discretion to permit intervention” pursuant to Rule

24(b)(1)(B). See Tansey v. Rogers, CV121049RGACONSL, 2016 WL 3519887, at

*2 (D. Del. June 27, 2016) (citing United States v. Territory of Virgin Islands, 748

F.3d 514, 524 (3d Cir. 2014)).6 “In exercising its discretion, the court must consider

whether the intervention will unduly delay or prejudice the adjudication of the

original parties’ rights.” See FED. R. CIV. P. 24(b)(3). Finally, Rule 24(c) requires

that a motion to intervene “must state the grounds for intervention and be


6
  Because Mohawk is a Delaware corporation, it is undisputed that the Court should apply
substantive Delaware law (and Eleventh Circuit authority applying Delaware law). See, e.g.,
Stepak v. Addison, 20 F.3d 398, 402 (11th Cir. 1994) (derivative shareholder plaintiffs bringing
an action on behalf of a Delaware corporation must satisfy the heightened pleading requirements
of both Federal Rule of Civil Procedure 23.1 and Delaware Chancery Court Rule 23.1); Peller v.
S. Co., 911 F.2d 1532, 1536 (11th Cir. 1990) (upholding the district court’s application of
Delaware law to substantive issues related to a Delaware corporation in a derivative shareholder
action) (citing Burks v. Lasker, 441 U.S. 471, 478 (1979)); In re The Home Depot, Inc. Shareholder
Derivative Litig., 223 F. Supp. 3d 1317, 1323–24 (N.D. Ga. 2016) (applying Delaware’s
substantive law because the defendant company was incorporated in Delaware).

                                               10
       Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 11 of 22




accompanied by a pleading that sets out the claim or defense for which intervention

is sought.” See FED. R. CIV. P. 24(c).

III.   Discussion

       Having set forth the relevant legal standard, the Court proceeds to its analysis

of Proposed Intervenors’ motion and Plaintiffs’ opposition thereto.

       A.    Motion to Intervene

       Before the Court can determine whether Proposed Intervenors may intervene

in the instant action pursuant to Rule 24, the Court must consider Plaintiffs’

preliminary arguments regarding two (2) purported deficiencies of Proposed

Intervenors’ motion. [See Doc. 42 at 7]. First, Plaintiffs assert that “Proposed

Intervenors have failed [to comply with the] technical requirement” of Rule 24(c)

that a motion to intervene “be accompanied by a pleading that sets out the claim or

defense for which intervention is sought.” [See id.] (citing FED. R. CIV. P. 24(c)).

Second, Plaintiffs contend that Proposed Intervenors’ motion is untimely. [See id.]

The Court addresses these threshold matters in turn before turning to the substance

of Proposed Intervenors’ motion.

             1.     Lack of accompanying pleading

       As Plaintiffs observe and Proposed Intervenors concede, no proposed

pleading accompanies the instant motion to intervene, as typically required by Rule

24(c). [See Docs. 34-1 at 15 n.13; 42 at 3, 7]; see also FED. R. CIV. P. 24(c) (a motion


                                          11
       Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 12 of 22




to intervene “must state the grounds for intervention and be accompanied by a

pleading that sets out the claim or defense for which intervention is sought”).

Plaintiffs proffer that “[s]tanding alone, this [c]ould be sufficient grounds to deny

the motion.” [See Doc. 42 at 7 n.4]. However, the case to which Plaintiffs cite for

this proposition did not deny a motion to intervene for lack of an attached pleading.

See Developers Sur. and Indem. Co. v. Archer W. Contractors, LLC,

616CV1875ORL40KRS, 2017 WL 8340660, at *2 (M.D. Fla. Apr. 3, 2017), report

and recommendation adopted, 616CV1875ORL40KRS, 2017 WL 2274922 (M.D.

Fla. May 25, 2017) (denying a motion to intervene where the proposed intervenor

sought to litigate an issue not already in dispute which would necessarily expand the

scope of litigation).

      Likewise, the Court finds Plaintiffs’ attempt to distinguish the instant

circumstances from those in Piambino v. Bailey to be unpersuasive. [See Doc. 42

at 7 n.4] (citing 757 F.2d 1112, 1121–22 (11th Cir. 1985)). In Piambino, the

Eleventh Circuit declined to require a separate pleading of a proposed intervenor

pursuant to Rule 24(c) because an “additional” pleading would “merely replicate”

material already on the record. [See id.] (citing 757 F.2d at 1121–22). Further, the

Eleventh Circuit explained in Piambino that the proposed intervenor’s “failure to

annex a complaint to his motion to intervene could not possibly have prejudiced”

the existing parties because they all “knew the nature of [proposed intervenor’s]


                                         12
        Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 13 of 22




substantive claims for relief; they were the very claims [l]ead [c]ounsel had asserted

in [the original] complaint.”7 See 757 F.2d at 1121. Similarly, Proposed Intervenors

here seek to advance the same claims brought by Plaintiffs on behalf of Mohawk

related to Defendants’ alleged participation in the Saturday Scheme, Carson Award,

improper Performance-Based Executive Compensation, and Mohawk’s inventory

issues (which Plaintiffs call the “channel stuffing scheme”). [See Doc. 34-1 at 12–

13]. Moreover, the Delaware Court of Chancery has held that a motion to intervene

meets the “objectives of Rule 24(c)” where it is clear the proposed intervenors “share

the same focus as the [l]ead [p]laintiffs[]” even absent an accompanying pleading.

See In re Freeport-McMoRan Copper & Gold Inc. Derivative Litig., CIV.A. 8145-

VCN, 2013 WL 616296, at *2 n.13 (Del. Ch. Feb. 14, 2013). This is particularly

true where the proposed intervenors seek to inspect the subject corporation’s books

and records, as Proposed Intervenors seek to do in the matter at bar. See id. at *2.

       Accordingly, in line with the above authority, the Court will not deny

Proposed Intervenors’ motion for lack of strict compliance with Rule 24(c). See

Piambino, 757 F.2d at 1121.




7
 Additionally, in Piambino, the Eleventh Circuit explained that while “[s]ome courts of appeals
have denied intervention to movants who have failed strictly to heed the requirements of Rule
24(c) . . . the majority of circuits, including this circuit, has not, choosing instead to disregard
nonprejudicial technical defects.” See 757 F.2d at 1121. Accordingly, this Court will not deny
Proposed Intervenors’ instant motion due to their lack of annexed complaint.

                                                13
       Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 14 of 22




            2.     Timeliness

      Next, Plaintiffs argue that Proposed Intervenors fail to meet Rule 24’s

requirement that a motion to intervene must be timely. [See Doc. 42 at 8–9]; see

also FED. R. CIV. P. 24(a)–(b). Specifically, Rule 24(b)(3) instructs that “[i]n

exercising its discretion” upon consideration of a motion to intervene, “the court

must consider whether the intervention will unduly delay or prejudice the

adjudication of the original parties’ rights.” See FED. R. CIV. P. 24(b)(3). While

“Rule 24 does not set forth actual time limits[,]” the Court possesses “relatively

broad discretion in assessing timeliness[.]” See Fed. Trade Commn. v. MOBE Ltd.,

618CV862ORL37DCI, 2019 WL 7842055, at *5 (M.D. Fla. Oct. 23, 2019), report

and recommendation adopted, 618CV862ORL37DCI, 2019 WL 6907696 (M.D.

Fla. Dec. 19, 2019), appeal dismissed, 20-10191-HH, 2020 WL 8260393 (11th Cir.

Dec. 10, 2020). Generally, courts in the Eleventh Circuit look to four (4) factors

when considering whether a motion to intervene is timely:

      1) the length of time during which the intervenor knew, or reasonably
      should have known, of his interest in the case before he petitioned for
      leave to intervene; 2) the extent of prejudice to existing parties as a
      result of the intervenor’s failure to apply as soon as he knew or
      reasonably should have known of his interest; 3) the extent of prejudice
      to the intervenor if the petition is denied; and 4) the existence of unusual
      circumstances militating either for or against a determination that the
      application is untimely.

See id. (citing United States v. Jefferson Cnty., 720 F.2d 1511, 1516 (11th Cir.

1983). No single factor is dispositive in determining timeliness. See id.

                                          14
       Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 15 of 22




      In the instant matter, Proposed Intervenors submitted their motion less than

four (4) months after Plaintiff Palmer filed his Complaint. See Compl.; [see also

Doc. 34]. The Parties do not appear to dispute that this length of time is reasonable,

nor do they argue that any unusual circumstances exist here. [See generally Docs.

34-1, 42, 46].

      Additionally, the Court does not find that any prejudice will result to the

existing Parties by granting Proposed Intervenors’ instant motion. Indeed, other than

the consolidation of the Palmer and Tharayil derivative actions into this

Consolidated Derivative Action (and the appointment of Lead Counsel for

Plaintiffs), no substantive proceedings have taken place yet.

      Moreover, this matter is currently under a stay of proceedings pursuant to the

July 20, 2020 Order entered by Judge Mark H. Cohen of this district. [See Doc. 28].

Specifically, the July 20, 2020 Order provides that the stay shall remain in place

“pending the earlier of (i) any of the defendants in the Related Securities Class

Action filing an answer to the operative complaint, or (ii) the deadline for appealing

a dismissal of the Related Securities Class Action with prejudice[.]” [See id. at 2].

None of the defendants in the Related Securities Class Action have filed an answer

to the operative complaint therein, nor has this Court issued its ruling on the pending

motion to dismiss in the Related Securities Class Action. See Pub. Emps.’ Ret. Sys.

of Miss., 4:20-cv-00005-ELR [Doc. 54]. Thus, neither of the conditions which could


                                          15
        Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 16 of 22




trigger a lift of the stay in the matter at bar have come to pass. [See Doc. 28 at 2].

Accordingly, the Court finds Proposed Intervenors’ motion is timely. [Doc. 34].

              3.      Permissive Intervention

       Having resolved the above preliminary matters, the Court now turns to the

substance of Proposed Intervenors’ motion. [Id.] For the reasons explained below,

the Court finds that Proposed Intervenors meet the standard for permissive

intervention pursuant to Federal Rule of Civil Procedure 24(b)(1)(B).8 As this

district has observed:

       Rule 24(b)[(1)(B)] provides for permissive intervention when an
       applicant’s claim or defense and the main action have a question of law
       or fact in common. The determination of whether permissive
       intervention is proper in a case is a two-step process. E.g., Meek v.
       Metro. Dade Cnty., Fla., 985 F.2d 1471, 1478 (11th Cir.1993),
       abrogated on other grounds by Dillard v. Chilton Cnty. Comm’n, 495
       F.3d 1324 (11th Cir. 2007). The court must first determine whether the
       applicant’s claim or defense and the main action share common
       questions of law or fact. Id. If this requirement is fulfilled the court
       must exercise its discretion in determining whether intervention should
       be allowed. Id. (citing Stallworth v. Monsanto Company, 558 F.2d 257
       (5th Cir.1977)). “Rule 24(b) [(1)(B)] plainly dispenses with any
       requirement that the intervenor shall have a direct personal or pecuniary
       interest in the subject of the litigation.” Id. (quoting SEC v. United
       States Realty and Improvement Co., 310 U.S. 434, 459 [] (1939)).
       Thus[,] the claim or defense clause of Rule 24(b)[(1)(B)] is generally

8
  For this reason, the Court need not determine whether Proposed Intervenors are entitled to
intervene as a matter of right pursuant to the more stringent standard of Rule 24(a). See Georgia
Aquarium, Inc. v. Pritzker, 309 F.R.D. 680, 690 (N.D. Ga. 2014) (declining to determine whether
intervention was warranted as a matter of right where movants met the standard for permissive
intervention); In re Freeport-McMoRan Copper & Gold Inc. Derivative Litig., 2013 WL 616296,
at *2 (holding the same in a Delaware derivative shareholder action where lead plaintiffs and
proposed intervenors disagreed over whether to undertake a books and records investigation before
pursuing derivative claims).

                                               16
       Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 17 of 22




      given a liberal construction. Id. (citing Stallworth[], 558 F.2d 257); In
      re Estelle, 516 F.2d 480, 485 (5th Cir. 1975). “However, the
      intervening party must demonstrate more than a general interest in the
      subject matter of the litigation before permissive intervention is
      allowed.” In re Estelle, 516 F.2d at 485 (citing Alexander v. Hall, 64
      F.R.D. 152 (D.S.C. 1974)).

See Georgia Aquarium, 309 F.R.D. at 690.

      Additionally, pursuant to the Delaware Court of Chancery Rules, the Court

must “consider whether the intervention will unduly delay or prejudice the

adjudication of the rights of the original parties.” In re Freeport-McMoRan Copper

& Gold Inc. Derivative Litig., 2013 WL 616296, at *2 (citing Del. Ct. Ch. R. 23(b)).

Finally, the Court’s decision to permit or deny intervention pursuant to Federal Rule

of Civil Procedure 24(b)(1)(B) will not be disturbed absent clear abuse of discretion.

See Purcell v. Bankatlantic Fin. Corp., 85 F.3d 1508, 1513 (11th Cir. 1996); Meek,

985 F.2d at 1477 (11th Cir. 1993); U.S. v. Dallas Cnty. Commn., Dallas Cnty., Ala.,

850 F.2d 1433, 1443 (11th Cir. 1988).

      By their instant motion, Proposed Intervenors assert they possess an interest

in this Consolidated Derivative Action because they seek to “bolster the demand

futility allegations” on behalf of Plaintiffs by completing their “books and records

investigation authorized by Section 220 of the Delaware General Corporation

Law[.]” [Docs. 34-1 at 3; 46 at 14]. Specifically, Proposed Intervenors initiated

their Section 220 investigations of Mohawk’s books and records on July 31, 2020,

and August 6, 2020. [See id. at 12]. Proposed Intervenors requested from Mohawk

                                         17
       Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 18 of 22




several categories of documents related to “the Saturday Scheme, the Carson Award,

the Performance-Based Executive Compensation, Carson’s ‘resignation,’ and the

inventory issues” (which Plaintiffs refer to as the “channel stuffing” scheme). [See

id. at 13]. By their instant motion, Proposed Intervenors contend that the completion

of their Section 220 investigations is particularly needed because Plaintiffs did not

“avail[] themselves of the tools at hand authorized under Delaware law[,]” and thus,

“their pre-suit investigations were deficient, and proceeding on Defendants’

[potential] [m]otions to [d]ismiss . . . risks prejudice to the Company and other

Mohawk stockholders.” [See id. at 2].

      The Court acknowledges that both the Delaware Supreme Court and the

Delaware Court of Chancery “have continually advised plaintiffs who seek to plead

facts establishing demand futility” to “use[] a Section 220 books and records

inspection to uncover such facts.”      See Beam ex rel. Martha Stewart Living

Omnimedia, Inc. v. Stewart, 845 A.2d 1040, 1056 (Del. 2004).             While this

consideration is not outcome-determinative pursuant to the standard for permissive

intervention, the Court finds it persuasive that the Delaware Court of Chancery has

granted motions to intervene in similar circumstances.        E.g., In re Freeport-

McMoRan Copper & Gold Inc. Derivative Litig., 2013 WL 616296, at *2 (“The

[p]roposed [i]ntervenors believe that a books and records effort should be pursued,




                                         18
        Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 19 of 22




and the Court, at least at this point, is not inclined, even if it could, to put a stop to

that effort.”).

       Moreover, based on the proffered purposes of Proposed Intervenors’ ongoing

Section 220 investigations, the information that Proposed Intervenors seek all

concerns the same alleged wrongdoing by Mohawk directors and executives

underlying Plaintiffs’ current claims for breach of fiduciary duty, breach of duty of

loyalty, waste, and unjust enrichment. [Compare Doc. 34-1 at 12–13], with Compl.,

and Civil Action No. 4:20-CV-00185 [Doc. 1]. Thus, Proposed Intervenors’ “efforts

would share multiple questions of law and fact in common with those of this action.”

See In re Freeport-McMoRan Copper & Gold Inc. Derivative Litig., 2013 WL

616296, at *2. Accordingly, the Court finds Proposed Intervenors meet the standard

for permissive intervention pursuant to Rule 24(b)(1)(B) because they possess a

claim or defense that shares a common question of law or fact with the claims or

defenses of Plaintiffs. See FED. R. CIV. P. 24(b)(1)(B).

       Further, the Court finds that granting Proposed Intervenors’ motion will not

“unduly delay or prejudice the adjudication of the rights of the original parties.” See

In re Freeport-McMoRan Copper & Gold Inc. Derivative Litig., 2013 WL 616296,

at *2; see also Del. Ct. Ch. R. 23(b). As noted above, this Consolidated Derivative

Action is already stayed pursuant to the July 20, 2020 Order by Judge Mark H.

Cohen, and neither condition which might trigger the end of the stay has come to


                                           19
       Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 20 of 22




pass. [See Docs. 28, 47]. Therefore, “[t]he books and records initiative will not

interfere with the scheduling for this action, and, thus, allowing [] Proposed

Intervenors to intervene will carry no adverse consequences for the existing

parties[.]” See In re Freeport-McMoRan Copper & Gold Inc. Derivative Litig., 2013

WL 616296, at *2.

      Accordingly, in its discretion, the Court grants Proposed Intervenors’ request

to intervene in the instant Consolidated Derivative Action pursuant to Federal Rule

of Civil Procedure 24(b)(1)(B). [Doc. 34].

             4.     Proposed Intervenors’ Remaining Requests

      Having granted Proposed Intervenors’ request to intervene, the Court assesses

the other requests presented by their instant motion.       Specifically, Proposed

Intervenors (1) oppose the consolidation of the Palmer and Tharayil derivative

actions and the appointment of lead counsel; and (2) request a stay of proceedings.

[See Doc. 34-1 at 4, 24]. At this time, both requests are moot.

      On October 21, 2020, this Court granted Plaintiffs’ “Motion to Consolidate

Cases and Motion to Appoint Lead Counsel” [Doc. 31] and Ordered the Palmer and

Tharayil derivative actions to be combined into the present Consolidated Derivative

Action. [Doc. 47 at 3]. By the same Order, the Court granted Plaintiffs’ request to

appoint as Lead Counsel Johnson Fistel, LLP and Brager Eagel & Squire, P.C. [Id.

at 4]. Thus, to the extent Proposed Intervenors’ motion opposes the consolidation


                                         20
        Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 21 of 22




of the Palmer and Tharayil derivative actions and opposes the appointment of Lead

Counsel, the Court denies these requests as moot. [Doc. 34]. Regarding Proposed

Intervenors’ request for a stay, by its October 21, 2020 Order, the Court ruled that

this Consolidated Derivative Action would remain stayed pursuant to the terms of

the earlier Order [Doc. 28] entered by Judge Mark H. Cohen. [Doc. 47 at 6]. Thus,

Proposed Intervenors’ request for a stay of proceedings is also due to be denied as

moot.9 [Doc. 34].

IV.    Conclusion

       For the foregoing reasons, the Court GRANTS IN PART AND DENIES AS

MOOT IN PART Proposed Intervenors’ “Motion[s] to Intervene for Limited

Purposes.” [Docs. 34, 49]. Specifically, the Court GRANTS Proposed Intervenors’

request to intervene in this Consolidated Derivative Action. [Docs. 34, 49].

       However, the Court DENIES AS MOOT Proposed Intervenors’ motions to

the extent that they oppose the consolidation of Civil Action No. 4:20-CV-00185

(the “Tharayil derivative action”) with Civil Action No. 4:20-CV-00185 (the

“Palmer derivative action”) and appointment of Johnson Fistel, LLP and Brager


9
  As set forth above, the current stay of proceedings pursuant to Judge Cohen’s Order provides
that this Consolidated Derivative Action shall remain stayed only through the earlier of two (2)
occurrences: the filing of an answer by defendants in the Related Securities Class Action to the
operative complaint in that case, or the deadline for appealing a potential dismissal with prejudice
of the Related Securities Class Action. [See Doc. 28 at 2]. After either such occurrence, the
current stay provides that the Parties to this Consolidated Derivative Action shall meet and confer
within thirty (30) days and submit to the undersigned either an update regarding case scheduling
or a proposed scheduling stipulation for review. [See id.]

                                                21
       Case 4:20-cv-00110-ELR Document 55 Filed 09/28/21 Page 22 of 22




Eagel & Squire, P.C. as Lead Counsel for this Consolidated Derivative Action. [See

Docs. 34, 47, 49]. Finally, the Court DENIES AS MOOT Proposed Intervenors’

request for a stay of proceedings. [Docs. 34, 49].

      SO ORDERED, this 28th day of September, 2021.



                                              ______________________
                                              Eleanor L. Ross
                                              United States District Judge
                                              Northern District of Georgia




                                         22
